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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   CASE NO: 19-30170-jal

IN RE: JOSHUA R. GEARY                                                                   Chapter 7
                                                                             Case No. 19-30170-jal

FIDELITY AUTOMOTIVE, INC. d/b/a                                                        PLAINTIFF
CLARK COUNTY AUTO AUCTION

v.                                    ELECTRONICALLY FILED

JOSHUA R. GEARY                                                                      DEFENDANT

                                                                       ADVERSARY PROCEEDING
                                                                       CASE NO.

                                               ** ** **

                                            COMPLAINT

        Plaintiff, Fidelity Automotive, Inc. d/b/a Clark County Auto Auction (“Fidelity”), by

counsel, brings the following complaint against Joshua R. Geary (“Debtor”) in the above-styled

bankruptcy.

        1.      Fidelity is a corporation organized under the laws of the State of Indiana.

        2.      Debtor filed the Chapter 7 Bankruptcy seeking to discharge all his debts, including

debts to Fidelity amounting to over $100,000.

        3.      Fidelity object to discharge of the debts of Debtor.

        4.      With the intent to defraud Fidelity, Debtor transferred his property within one year

before the date of filing his petition in this case.

        5.      Debtor, knowingly and fraudulently, failed to disclose to the trustee in this action

and concealed his interest in Cliff & Sons Auto Sales, LLC and/or his interest in automobiles

and/or the proceeds from sales of automobiles, and Debtor failed to fully disclose and concealed

documentation related thereto.
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       6.      Pursuant to 11 U.S.C.A. § 727(a)(2-4), Debtor’s debts should not be discharged.

       7.      Debtor’s debt to Fidelity was obtained through fraud, as Debtor knew he would not

and/or could not pay the debt when he incurred it.

       8.      Pursuant to 11 U.S.C.A. 523(a)(2), Debtor’s debts to Fidelity should not be

discharged.

       WHEREFORE, Plaintiff respectfully demands as follows:

       1.      That Debtor’s debts not be discharged and that his bankruptcy petition be

dismissed;

       2.      Debtor’s debts to Fidelity not be discharged;

       3.      All of its damages, costs, attorney fees, and interest herein;

       4.      Any and all relief to which it may be entitled.

                                              Respectfully submitted,

                                              /s/ Joshua T. Rose
                                              Joshua T. Rose
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